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January 26, 2022

VIA ELECTRONIC MAIL
(Gina_Hernandez@njd.uscourts.gov)

Gina Hernandez-Buckley

Courtroom Deputy to Hon. Michael A. Shipp, U.S.D.J.
USS. District Court-District of New Jersey

Trenton, NJ

Re: | US v. Thomas J. Hartley (No. 22-37)
Dear Ms. Hernandez-Buckley:

Please be advised Myers, Brier and Kelly, LLP will not be representing Mr. Hartley in
this matter, and, therefore, I will not be entering my appearance on behalf of Thomas J. Hartley
in the above captioned matter. I have informed Mr. Hartley of your communication. It is my
understanding that he will seek counsel in New Jersey to represent him on this matter. Also, a
copy of this letter will be sent to Mr. Hartley.

Thank you for your assistance.

Sincerely,
Patrick A. Casey

PAC:smf

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